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                         BEFORE THE UNITED STATES
                JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE: FTX CRYPTOCURRENCY                                MDL Docket No. 3076
EXCHANGE COLLAPSE LITIGATION



                                CERTIFICATE OF SERVICE

      In compliance with Rule 4.1(a) of the Rules of Procedure for the United States

Judicial Panel on Multidistrict Litigation, I hereby certify that a copy of the foregoing

Notice of Appearance and this Certificate of Service were electronically filed with the Clerk

of the JPML by using the CM/ECF and was served on all counsel or parties in manners

indicated and addressed as follows:


                                            Service List

 Counsel for Plaintiffs in Norris et al v. Brady       Counsel for Defendant Thomas Brady in
 et al, Case No. 1:23-CV-20439-KMM (S.D.               Norris et al v. Brady et al, Case No. 1:23-
 Fla.):                                                CV-20439-KMM (S.D. Fla.); Garrison et al
                                                       v. Bankman-Fried et al, Case No. 1:22-CV-
                              Via Electronic Mail      23753-KMM (S.D. Fla.); Podalsky et al v.
                                                       Bankman-Fried et al, Case No. 1:22-cv-
 Adam M. Moskowitz                                     23983-KMM (S.D. Fla.)
 The Moskowitz Law Firm, PLLC
 2 Alhambra Plaza, Suite 601                           And
 Coral Gables, FL 33134-6036
 305-740-1423                                          Counsel for Defendant Gisele Bundchen in
 adam@moskowitz-law.com                                Garrison et al v. Bankman-Fried et al,
                                                       Case No. 1:22-CV-23753-KMM (S.D. Fla.);
 Jose Manuel Ferrer                                    Podalsky et al v. Bankman-Fried et al, Case
 Mark Migdal and Hayden                                No. 1:22-cv-23983-KMM (S.D. Fla.)
 80 SW 8 Street, Suite 1999
 Miami, FL 33131 - 33130                               And
 305-374-0440
 jose@markmigdal.com                                   Counsel for Defendant Lawrence Gene
                                                       David in Garrison et al v. Bankman-Fried et

                                                   1
PROOF OF SERVICE                                                            MDL No. 3076
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 Joseph M. Kaye                                     al, Case No. 1:22-CV-23753-KMM (S.D.
 The Moskowitz Law Firm, PLLC                       Fla.); Podalsky et al v. Bankman-Fried et al,
 2 Alhambra Plaza, Suite 601                        Case No. 1:22-cv-23983-KMM (S.D. Fla.):
 Miami, FL 33134
 305-740-1423                                                          Via Electronic Mail
 joseph@moskowitz-law.com
                                                    Stephanie Anne Casey
 Stephen N. Zack                                    Colson Hicks Eidson
 Boies Schiller & Flexner                           255 Alhambra Circle, PH
 Miami Tower                                        Coral Gables, FL 33134
 100 SE 2nd Street, Suite 2800                      305-476-7400
 Miami, FL 33131-2144                               305-476-7444
 305-539-8400                                       scasey@colson.com
 305-539-1307
 szack@bsfllp.com                                   Zachary Andrew Lipshultz
                                                    Colson Hicks Eidson
 Ursula Ungaro                                      255 Alhambra Circle
 Boies Schiller Flexner LLP                         Coral Gables, FL 33134 305-476-7400
 Miami Tower                                        zach@colson.com
 100 SE 2nd Street, Suite 2800
 Miami, FL 33131                                    Andrew B. Clubok
 305-479-6553                                       Latham & Watkins LLP
 uungaro@bsfllp.com (Inactive)                      555 Eleventh Street, NW, Suite 1000
                                                    Washington, DC 20004
 Alexander Boies                                    202-637-2200
 Boies Schiller Flexner LLP                         andrew.clubok@lw.com
 333 Main Street
 Armonk, NY 10504                                   Brittany M.J. Record
 914-749-8200                                       Latham & Watkins LLP
 aboies@bsfllp.com                                  555 Eleventh Street, N.W., Suite 1000
                                                    Washington, DC 20004
 David Boies                                        202-637-2200
 Boies Schiller Flexner LLP                         Brittany.Record@lw.com
 333 Main Street
 Armonk, NY 10504                                   Elizabeth A. Greenman
 914-749-8200                                       Latham & Watkins LLP
 dboies@bsfllp.com                                  10250 Constellation Blvd., Suite 1100
                                                    Los Angeles, CA 90067
 Counsel for Plaintiffs in Garrison et al v.        424-653-5500
 Bankman-Fried et al, Case No. 1:22-CV-             Elizabeth.Greenman@lw.com
 23753-KMM (S.D. Fla.):
                                                    Jessica Stebbins Bina
                          Via Electronic Mail       Latham & Watkins LLP
                                                    10250 Constellation Blvd. Suite 1100
 Adam M. Moskowitz                                  Los Angeles, CA 90067
                                                2
PROOF OF SERVICE                                                          MDL No. 3076
       Case FLS/1:22-cv-23753 Document 5-1 Filed 03/03/23 Page 3 of 14




 The Moskowitz Law Firm, PLLC             424-653-5500
 2 Alhambra Plaza, Suite 601              Jessica.stebbinsbina@lw.com
 Coral Gables, FL 33134-6036
 305-740-1423                             Marvin Putnam
 adam@moskowitz-law.com                   Latham & Watkins LLP
                                          10250 Constellation Blvd., Suite 1100
 Joseph M. Kaye                           Los Angeles, CA 90067
 The Moskowitz Law Firm, PLLC             424-653-5500
 2 Alhambra Plaza, Suite 601              Marvin.Putnam@lw.com
 Miami, FL 33134
 305-740-1423                             Michele D. Johnson
 joseph@moskowitz-law.com                 Latham & Watkins LLP
                                          650 Town Center Drive, 20th Floor Costa
 Stephen N. Zack                          Mesa, CA 92626
 Boies Schiller & Flexner                 714-540-1235
 Miami Tower Miami                        michele.johnson@lw.com
 100 SE 2nd Street, Suite 2800
 Miami, FL 33131-2144                     Susan E. Engel
 305-539-8400                             Latham & Watkins LLP
 305-539-1307                             555 Eleventh Street, N.W., Suite 1000
 szack@bsfllp.com                         Washington, DC 20004
                                          202-637-2200
 Ursula Ungaro                            Susan.Engel@lw.com
 Boies Schiller Flexner LLP
 100 SE 2nd Street, Suite 2800            Roberto Martinez
 Miami, FL 33131                          Colson Hicks Eidson
 305-479-6553                             255 Alhambra Circle Penthouse
 uungaro@bsfllp.com (Inactive)            Coral Gables, FL 33134-2351
                                          305-476-7400
 Alexander Boies                          305-476-7444
 Boies Schiller Flexner LLP               bob@colson.com
 333 Main Street
 Armonk, NY 10504
 914-749-8200                             Counsel for Defendant Kevin O'Leary in:
 aboies@bsfllp.com                        Norris et al v. Brady et al, Case No. 1:23-
                                          CV- 20439-KMM (S.D. Fla.); Garrison et
 David Boies                              al v. Bankman-Fried et al, Case No. 1:22-
 Boies Schiller Flexner LLP               CV- 23753-KMM (S.D. Fla.)
 333 Main Street
 Armonk, NY 10504
 914-749-8200
 dboies@bsfllp.com                                           Via Electronic Mail

 Tyler Evan Ulrich                        Brandon Scott Floch
 Boies Schiller and Flexner LLP           Marcus Neiman Rashbaum & Pineiro LLP
                                      3
PROOF OF SERVICE                                                MDL No. 3076
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 100 SE 2nd Street, Suite 2800                       One Biscayne Tower
 Miami, FL 33131                                     2 South Biscayne Blvd., Suite 2530
 305-539-8400                                        Miami, FL 33131
 Fax: 305-539-1307                                   305-434-4943
 Email: tulrich@bsfllp.com                           bfloch@mnrlawfirm.com

 Counsel for Plaintiffs in Podalsky et al v.         Jeffrey Eldridge Marcus
 Bankman-Fried et al, Case No. 1:22-cv-              Marcus Neiman Rashbaum & Pineiro LLP
 23983-KMM (S.D. Fla.):                              One Biscayne Tower
                                                     2 South Biscayne Boulevard, Suite 2530
                           Via Electronic Mail       Miami, FL 33131
                                                     305-400-4260
 Adam M. Moskowitz                                   866-780-8355
 The Moskowitz Law Firm, PLLC                        jmarcus@mnrlawfirm.com
 2 Alhambra Plaza, Suite 601
 Coral Gables, FL 33134-6036                         Jeffrey Adam Neiman
 305-740-1423                                        Marcus Neiman Rashbaum & Pineiro LLP
 adam@moskowitz-law.com                              100 Southeast Third Avenue, Suite 805
                                                     Fort Lauderdale, FL 33394
 Joseph M. Kaye                                      954-462-1200
 The Moskowitz Law Firm, PLLC                        954-688-2492
 2 Alhambra Plaza, Suite 601                         jneiman@mnrlawfirm.com
 Miami, FL 33134
 305-740-1423                                        Michael Anthony Pineiro
 joseph@moskowitz-law.com                            Marcus Neiman Rashbaum & Pineiro LLP
                                                     2 S. Biscayne Boulevard, Suite 2530
 Stephen N. Zack                                     Miami, FL 33131
 Boies Schiller & Flexner                            305-400-4268
 Miami Tower                                         mpineiro@mnrlawfirm.com
 100 SE 2nd Street, Suite 2800
 Miami, FL 33131- 2144                               Andrew B. Brettler
 305-539-8400                                        Berk Brettler LLP
 305-539-1307                                        9119 Sunset Blvd.
 szack@bsfllp.com                                    West Hollywood, CA 90069
                                                     310-278-2111
 Ursula Ungaro                                       abrettler@berkbrettler.com
 Boies Schiller Flexner LLP
 100 SE 2nd Street, Suite 2800                       Counsel for Defendant David Ortiz in
 Miami, FL 33131                                     Norris et al v. Brady et al, Case No. 1:23-
 305-479-6553                                        CV-20439- KMM (S.D. Fla.); Garrison et
 uungaro@bsfllp.com (Inactive)                       al v. Bankman- Fried et al, Case No. 1:22-
                                                     CV-23753-KMM (S.D. Fla.); Podalsky et al
 Alexander Boies                                     v. Bankman-Fried et al, Case No. 1:22-cv-
 Boies Schiller Flexner LLP                          23983-KMM (S.D.Fla.):
 333 Main Street
                                                 4
PROOF OF SERVICE                                                          MDL No. 3076
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 Armonk, NY 10504                                                     Via Electronic Mail
 914-749-8200
 aboies@bsfllp.com                                 Christopher Stephen Carver
                                                   Akerman LLP
 David Boies                                       Three Brickell City Centre Suite 1100
 Boies Schiller Flexner LLP
                                                   98 Southeast Seventh Street
 333 Main Street
                                                   Miami, FL 33131
 Armonk, NY 10504
                                                   305-982-5572
 914-749-8200                                      305-374-5095
 dboies@bsfllp.com                                 christopher.carver@akerman.com

 Counsel for Plaintiff in Papadakis v. Bankman-    Jason Samuel Oletsky
 Fried et al, Case No. 3:23-CV- 00024-JSC          Akerman LLP
 (N.D. Cal.):                                      201 East Las Olas Boulevard Ste 1800
                                                   Fort Lauderdale, FL 33301
                         Via Electronic Mail       954-759-8909
                                                   954-463-2224
 Frederic S. Fox                                   jason.oletsky@akerman.com
 Kaplan Fox & Kilsheimer
 850 Third Avenue,14th Floor                       Katherine Ann Johnson
 New York, NY 10022                                Akerman LLP
 212-687-1980                                      201 E. Las Olas Blvd., Suite 1800
 FFox@kaplanfox.com                                Fort Lauderdale, FL 33301
                                                   954-463-2700
 Jeffrey Philip Campisi                            954-463-2224
 Kaplan Fox and Kilsheimer LLP                     Katie.johnson@akerman.com
 850 Third Avenue
 New York, NY 10022                                Counsel for Defendant William Trevor
 212-687-1980                                      Lawrence in: Garrison et al v. Bankman-
 jcampisi@kaplanfox.com                            Fried et al, Case No. 1:22-CV-23753-KMM
                                                   (S.D. Fla.); Podalsky et al v. Bankman-
 Joel B. Strauss                                   Fried et al, Case No. 1:22-cv-23983-KMM
 Kaplan Fox & Kilsheimer LLP                       (S.D.Fla.):
 805 Third Avenue, 14th Floor
 New York, NY 10022                                                   Via Electronic Mail
 212-687-1980
 212-687-7714                                      David Alan Rothstein
 jstrauss@kaplanfox.com                            Alexander Manuel Peraza
                                                   Eshaba Jahir-Sharuz
 Kathleen A. Herkenhoff                            Dimond Kaplan & Rothstein
 Kaplan Fox & Kilsheimer LLP                       2665 South Bayshore Drive, PH-2B
 1999 Harrison Street, Suite 1560                  Coconut Grove, FL 33133
 Oakland, CA 94612                                 305-374-1920
 415-772-4700                                      Fax: 374-1961
 415-772-4707                                      drothstein@dkrpa.com
                                               5
PROOF OF SERVICE                                                        MDL No. 3076
       Case FLS/1:22-cv-23753 Document 5-1 Filed 03/03/23 Page 6 of 14




 Kherkenhoff@kaplanfox.com                          aperaza@dkrpa.com
                                                    eshaba@dkrpa.com
 Laurence D. King
 Kaplan Fox & Kilsheimer LLP                        Eric A. Fitzgerald
 1999 Harrison Street, Suite 1560                   Hillary N. Ladov
 Oakland, CA 94612                                  McAngus Goudelock & Courie LLC
 415-772-4700                                       2000 Market Street, Suite 780
 415-772-4707                                       Philadelphia, PA 19103
 lking@kaplanfox.com                                (484) 406-4334
                                                    eric.fitzgerald@mgclaw.com
 Counsel for Plaintiff in Jessup v. Bankman-        hillary.ladov@mgclaw.com
 Fried et al, Case No. 3:22-cv-07666-JSC (N.D.
 Cal.):                                             Counsel for Defendant Golden State
                                                    Warriors, LLC in Garrison et al v.
                         Via Electronic Mail        Bankman- Fried et al, Case No. 1:22-CV-
                                                    23753-KMM (S.D. Fla.); Podalsky et al v.
 P. Solange Hilfinger-Pardo                         Bankman-Fried et al, Case No. 1:22-cv-
 Edelson PC                                         23983-KMM (S.D.Fla.); Lam et al v.
 150 California Street, 18th Floor                  Bankman-Fried, Case No. 3:22-cv-07336-
 San Francisco, CA 94111                            JSC:
 415-212-9300
 shilfingerpardo@edelson.com
                                                                        Via Electronic Mail
 Todd M. Logan
 Edelson PC                                         Gibson, Dunn & Crutcher LLP
 150 California Street, 18th Floor                  Matthew S. Kahn
 San Francisco, CA 94111                            555 Mission Street
 (415) 212-9300                                     San Francisco, CA 94105-0921
 Fax: (415) 373-9435                                Tel +1 415.393.8212
 tlogan@edelson.com                                 Fax +1 415.374.8466
                                                    MKahn@gibsondunn.com
 Yaman Salahi
 Edelson PC                                         Counsel for Defendant Samuel Bankman-
 150 California Street,                             Fried in Garrison et al v. Bankman-Fried et
 18thFloor                                          al, Case No. 1:22-CV-23753-KMM
 San Francisco, CA 94111                            (S.D.Fla.); Podalsky et al v. Bankman-Fried
 (415) 212-9300                                     et al, Case No. 1:22-cv-23983-KMM (S.D.
 ysalahi@edelson.com                                Fla.);Papadakis v. Bankman-Fried et al,
                                                    Case No. 3:23-CV-00024-JSC (N.D. Cal.);
 Counsel for Plaintiff in Hawkins v. Bankman-       Jessup v. Bankman-Fried et al, Case No.
 Fried et al, Case No. 3:22-CV-07620-JSC            3:22-cv- 07666-JSC (N.D. Cal.); Hawkins v.
 (N.D. Cal.):                                       Bankman- Fried et al, Case No. 3:22-CV-
                                                    07620-JSC (N.D. Cal.), Pierce et al v.
                                                    Bankman-Fried et al, Case No. 3:22-CV-
                           Via Electronic Mail
                                                    07444-JSC (N.D. Cal.):

                                                6
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 Jennifer Pafiti                                             Via Electronic Mail
 Pomerantz LLP
 1100 Glendon Avenue, 15th Floor          Jeremy D. Mishkin
 Los Angeles, CA 90024                    Montgomery McCracken Walker & Rhoads
 310-405-7190                             LLP
 jpafiti@pomlaw.com                       1735 Market Street
                                          Philadelphia, PA 19103-7505
 Joshua B. Silverman                      Direct: 215-772-7246
 Pomerantz LLP                            jmishkin@mmwr.com
 10 S LaSalle St
 Suite 3505                               Defendant, Stephen Curry in Garrison et al
 Chicago, IL 60603                        v. Bankman-Fried et al, Case No. 1:22-CV-
 312-377-1181                             23753-KMM (S.D. Fla.); Podalsky et al v.
 jbsilverman@pomlaw.com                   Bankman-Fried et al, Case No. 1:22-cv-
                                          23983-KMM (S.D. Fla.):
 J Alexander Hood, II
 Pomerantz LLP                                                        Via U.S. Mail
 600 Third Avenue, 20th Floor
 New York, NY 10016                       115 Stephanie Lane
 212-661-1100                             Alamo, California 94507-1227
 212-661-8665
 ahood@pomlaw.com
                                          Defendant, Shaquille O’Neal in Garrison et
 Jeremy A. Lieberman                      al v. Bankman-Fried et al, Case No. 1:22-
 Pomerantz LLP                            CV- 23753-KMM (S.D. Fla.); Podalsky et
 600 Third Avenue, 20th Floor New         al v. Bankman-Fried et al, Case No. 1:22-
 York, NY 10016                           cv- 23983-KMM (S.D. Fla.):
 212-661-1100
 212-661-8665                                                         Via U.S. Mail
 jalieberman@pomlaw.com
                                          4012 Sahara Ct,
 Peretz Bronstein                         Carrollton, TX 75010
 Bronstein Gewirtz & Grossman, LLC
 60 East 42nd Street, Suite 4600          Defendant, Udonis Haslem in Garrison et al
 New York, NY 10165                       v. Bankman-Fried et al, Case No. 1:22-CV-
 212-697-6484                             23753-KMM (S.D. Fla.); Podalsky et al v.
 212-697-7296                             Bankman-Fried et al, Case No. 1:22-cv-
 peretz@bgandg.com                        23983-KMM (S.D. Fla.):

 Eitan Kimelman                                                       Via U.S. Mail
 Bronstein Gewirtz & Grossman LLC
 60 East 42nd Street, Suite 4600
 New York, NY 10165                       5450 SW 192nd Terrace
 212-697-6484                             Southwest Ranches, Florida 33332-3
 212-697-7296

                                      7
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 eitank@bgandg.com

 Counsel for Plaintiffs in Pierce et al v.
 Bankman-Fried et al, Case No. 3:22-CV-
 07444-JSC (N.D. Cal.):
                                                       Defendant, Shohei Ohtani in Garrison et al
                        Via Electronic Mail            v. Bankman-Fried et al, Case No. 1:22-CV-
                                                       23753-KMM (S.D. Fla.); Podalsky et al v.
 Patrick Yarhorough                                    Bankman-Fried et al, Case No. 1:22-cv-
 Foster Yarborough PPLC                                23983-KMM (S.D. Fla.):
 917 Houston TX, 77002
 713-513-5202                                                                    Via U.S. Mail
 patrick@fosteryarborough.com
                                                       2000 Gene Autry Way Anaheim,
 Marshal Hoda                                          California,92806
 The Hoda Law Firm, PLLC
 12333 Sowden Road,
 Suite B, PMB 51811                                    Defendant, Naomi Osaka in
 Houston, TX 77080                                     Garrison et al v. Bankman-Fried et al,
 832-848-0036                                          Case No. 1:22-CV-23753-KMM (S.D. Fla.);
 marshal@thehodalawfirm.com                            Podalsky et al v. Bankman-Fried et al, Case
                                                       No. 1:22-cv-23983-KMM (S.D. Fla.):
 Steven C. Vondran
 The Law Offices of Steven C. Vondran, PC                                        Via U.S. Mail
 One Sansome Street, Suite 3500
 San Francisco, CA 94104                               9621 Arby Dr.
 877-276-5084                                          Beverly Hills, California, 90210
 888-551-2252
 steve@vondranlegal.com                                Consol Defendant, Sam Trabucco in
                                                       Garrison et al v. Bankman-Fried et al, Case
 Counsel for Plaintiff, Elliott Lam in Lam et al       No. 1:22- CV-23753-KMM (S.D. Fla.);
 v. Bankman-Fried, Case No. 3:22-cv-07336-             Podalsky et al v. Bankman-Fried et al, Case
 JSC (N.D. Cal.):                                      No. 1:22-cv- 23983-KMM (S.D. Fla.);
                                                       Jessup v. Bankman- Fried et al, Case No.
                            Via Electronic Mail        3:22-cv-07666-JSC (N.D. Cal.):

 William M. Audet                                                              Via U.S. Mail
 Audet & Partners, LLP
 711 Van Ness Avenue, Suite 500                        36 Winner Circle,
 San Francisco, CA 94102-3229                          Wells ME 04090-5174
 415-568-2555
 415-568-2556
 waudet@audetlaw.com                                   Defendant Caroline Ellison in Garrison et al
                                                       v. Bankman-Fried et al, Case No. 1:22-CV-
 Kurt David Kessler                                    23753-KMM (S.D. Fla.); Podalsky et al v.

                                                   8
PROOF OF SERVICE                                                             MDL No. 3076
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 Audet & Partners LLP                               Bankman-Fried et al, Case No. 1:22-cv-
 711 Van Ness Avenue , Suite 500                    23983-KMM (S.D. Fla.) Papadakis v.
 San Francisco, CA 94102-3275                       Bankman-Fried et al, Case No. 3:23-CV-
 415-568-2555                                       00024-JSC (N.D. Cal.); Jessup v. Bankman-
 kkessler@audetlaw.com                              Fried et al, Case No. 3:22-cv-07666-JSC
                                                    (N.D. Cal.); Hawkins v. Bankman-Fried et
 Laurence D. King                                   al, Case No. 3:22-CV-07620-JSC (N.D.
 Kaplan Fox & Kilsheimer LLP                        Cal.), Pierce et al v. Bankman-Fried et al,
 1999 Harrison Street, Suite 1560                   Case No. 3:22-CV-07444-JSC (N.D. Cal.);
 Oakland, CA 94612                                  Lam et al v. Bankman-Fried, Case No. 3:22-
 415-772-4700                                       cv-07336- JSC:
 415-772-4707
 lking@kaplanfox.com                                                            Via U.S. Mail

 Ling Yue Kuang                                     327 Franklin Street
 Audet & Partners, LLP                              Newton, MA 02458
 711 Van Ness Avenue, Suite 500
 San Francisco, CA 94102                            And
 415-568-2555
 415-568-2556                                                             Via Electronic Mail
 lkuang@audetlaw.com
                                                    c/o Stephanie Avakian
 Yaman Salahi                                       Wilmer Hale
 Edelson PC                                         2100 Pennsylvania Avenue NW
 150 California Street, 18th Floor                  Washington DC 20037
 San Francisco, CA 94111                            Phone: 202-663-6471
 415-212-9300                                       stephanie.avakian@wilmerhale.com
 415-373-9435
 ysalahi@edelson.com                                Defendant Zixiao “Gary” Wang in Garrison
                                                    et al v. Bankman-Fried et al, Case No. 1:22-
 Counsel for Plaintiffs in Gonzalez v.              CV- 23753-KMM (S.D. Fla.); Podalsky et
 Silvergate Bank et al, Case No. 3:22-CV-           al v. Bankman-Fried et al, Case No. 1:22-
 01981-BEN-WVG (S.D. Cal.):                         cv- 23983-KMM (S.D. Fla.); Papadakis v.
                                                    Bankman-Fried et al, Case No. 3:23-CV-
                          Via Electronic Mail       00024-JSC (N.D. Cal.); Jessup v. Bankman-
                                                    Fried et al, Case No. 3:22-cv-07666-JSC
 Adam E. Polk                                       (N.D. Cal.); Hawkins v. Bankman-Fried et
 Girard Sharp LLP                                   al, Case No. 3:22-CV-07620-JSC (N.D.
 601 California Street, Suite 1400                  Cal.), Pierce et al v. Bankman-Fried et al,
 San Francisco, CA 94108                            Case No. 3:22-CV-07444-JSC (N.D. Cal.):
 415-981-4800
 apolk@girardsharp.com
                                                                                   Via U.S. Mail
 Daniel C. Girard
                                                    304 Island Lane
 Girard Sharp LLP
                                                9
PROOF OF SERVICE                                                           MDL No. 3076
      Case FLS/1:22-cv-23753 Document 5-1 Filed 03/03/23 Page 10 of 14




 601 California Street, Suite 1400                    Egg Harbor Township, NJ 08234
 San Francisco, CA 94108
 415-981-4800                                         And
 415-981-4846
 dgirard@girardsharp.com                                                      Via Electronic Mail

 Jason S Hartley                                      c/o Alex B. Miller
 Hartley LLP                                          Fried Frank
 101 West Broadway, Suite 820                         One New York Plaza
 San Diego, CA 92101                                  New York, New York 10004
 619-400-5822                                         T: +1.212.859.8000
 619-400-5832                                         alex.miller@friedfrank.com
 hartley@hartleyllp.com

 Jason M. Lindner                                     Defendant Nishad Singh in Garrison et al v.
 Stueve Siegel Hanson LLP                             Bankman-Fried et al, Case No. 1:22-CV-
 550 West C Street, Suite 610                         23753-KMM (S.D. Fla.); Podalsky et al v.
 San Diego, CA 92101                                  Bankman-Fried et al, Case No. 1:22-cv-
 619-400-5822                                         23983-KMM (S.D. Fla.); Papadakis v.
 619-400-5832                                         Bankman-Fried et al, Case No. 3:23-CV-
 lindner@stuevesiegel.com (Inactive)                  00024-JSC (N.D. Cal.); Jessup v. Bankman-
                                                      Fried et al, Case No. 3:22-cv-07666-JSC
 Makenna Cox                                          (N.D. Cal.); Hawkins v. Bankman-Fried et
 601 California Street, Suite 1400                    al, Case No. 3:22-CV-07620-JSC (N.D.
 San Francisco, CA 94108                              Cal.), Pierce et al v. Bankman-Fried et al,
 415-981-4800                                         Case No. 3:22-CV-07444-JSC (N.D. Cal.):
 mcox@girardsharp.com
                                                                                  Via U.S. Mail
 Counsel for Plaintiffs in Sepulveda Zuleta et
 al v. Silvergate Capital Corporation et al,          746 Jennifer Way
 Case No.: 3:22-CV-01901- BEN-WVG (S.D.               Milpitas, CA 95035
 Cal.):
                                                      And
                             Via Electronic Mail
                                                                             Via Electronic Mail
 Caroline S. Emhardt
 Fitzgerald Joseph LLP                                c/o Andrew Goldstein
 2341 Jefferson Street, Suite 200                     Cooley LLP
 San Diego, CA 92110                                  1299 Pennsylvania Avenue, NW Suite 700
 619-215-1741                                         Washington, DC 20004 2400
 caroline@fitzgeraldjoseph.com                        202-842-7800
                                                      agoldstein@cooley.com
 Jack Fitzgerald
 Fitzgerald Joseph LLP
 2341 Jefferson Street, Suite 200                     Consol Defendant, Dan Friedberg in
                                                 10
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 San Diego, CA 92110                      Garrison et al v. Bankman-Fried et al, Case
 619-215-1741                             No. 1:22- CV-23753-KMM (S.D. Fla.);
 619-331-2943                             Podalsky et al v. Bankman-Fried et al, Case
 jack@fitzgeraldjoseph.com                No. 1:22-cv- 23983-KMM (S.D. Fla.):

 James M. Davis, IV                                             Via U.S. Mail
 Casey Gerry LLP
 110 Laurel Street                        1133 Bigelow Ave N Seattle, WA 98109-
 San Diego, CA 92101                      3208
 619-238-1811
 619-544-9232                             And
 jdavis@cglaw.com (Inactive)
                                                                Via Electronic Mail
 Melanie Rae Persinger
 Fitzgerald Joseph LLP                    c/o Telemachus P. Kasulis
 2341 Jefferson Street, Suite 200         Morvillo Abramowitz Grand Iason &
 San Diego, CA 92110                      Anello PC
 619-215-1741                             565 Fifth Avenue
 melanie@fitzgeraldjoseph.com             New York, NY 10017
                                          212.880.9555
 Paul K. Joseph                           tkasulis@maglaw.com
 Fitzgerald Joseph LLP
 2341 Jefferson Street, Suite 200         Counsel for Defendant Armanino LLP in
 San Diego, CA 92110                      Papadakis v. Bankman-Fried et al, Case No.
 619-215-1741                             3:23-CV-00024-JSC (N.D. Cal.); Hawkins
 paul@pauljosephlaw.com                   v. Bankman-Fried et al, Case No. 3:22-CV-
                                          07620-JSC (N.D. Cal.), Pierce et al v.
 Thomas Joseph O'Reardon, II              Bankman-Fried et al, Case No. 3:22-CV-
 Blood Hurst & O'Reardon, LLP             07444-JSC (N.D. Cal.):
 501 West Broadway, Suite 1490
 San Diego, CA 92101
 619-338-1100                                                 Via Electronic Mail
 619-338-1101
 toreardon@bholaw.com                     Ann Marie Mortimer
                                          Hunton Andrews Kurth LLP
 Timothy G. Blood                         550 South Hope Street, Suite 2000
 Blood Hurst & O'Reardon, LLP             Los Angeles, CA 90071
 501 West Broadway, Suite 1490            213-532-2103
 San Diego, CA 92101                      amortimer@HuntonAK.com
 619-338-1100
 619-338-1101                             Kirk Austin Hornbeck
 tblood@bholaw.com                        Hunton Andrews Kurth LLP
                                          550 S. Hope Street, Suite 2000
 Trevor Matthew Flynn                     Los Angeles, CA 90071
 Fitzgerald Joseph, LLP                   213-532-2000
                                     11
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 2341 Jefferson Street, Suite 200                  213-532-2020
 San Diego, CA 92110                               khornbeck@HuntonAK.com
 619-215-1741
 trevor@fitzgeraldjoseph.com                       Thomas Richard Waskom
                                                   Hunton Andrews Kurth LLP
 Counsel for Plaintiffs Andrawes Husary,           951 East Byrd St.
 Francisco De Tomaso, Soham Bhatia, Michael        Richmond, VA 23219
 Hawwa in Husary et al v. Silvergate Bank et       804-788-8403
 al, Case No. 3:23-CV-00038-BEN- WVG               twaskom@HuntonAK.com
 (S.D. Cal.):

                             Via Electronic Mail   Counsel for Defendant Prager Metis CPAs,
                                                   LLC in Papadakis v. Bankman-Fried et al,
 Isabella Martinez                                 Case No. 3:23-CV-00024-JSC (N.D. Cal.);
 Reiser Law PC                                     Hawkins v. Bankman-Fried et al, Case No.
 1475 North Broadway, Suite 300                    3:22-CV-07444-JSC (N.D. Cal.):
 Walnut Creek, CA 94596
 925-256-0400                                                            Via Electronic Mail
 isabella@reiserlaw.com
                                                   Bruce Roger Braun
 Jason S Hartley                                   Sidley Austin LLP
 Hartley LLP                                       One S. Dearborn
 101 West Broadway, Suite 820                      Chicago, Il 60603
 San Diego, CA 92101                               312-853-7000
 619-400-5822                                      312-853-7036
 619-400-5832                                      bbraun@sidley.com
 hartley@hartleyllp.com
                                                   Joanna Rubin Travalini
 Jason Kenneth Kellogg                             Sidley Austin LLP
 Levine Kellogg Lehman Schneider &                 One South Dearborn Street
 Grossman                                          Chicago, IL 60603
 Miami Tower                                       312-853-2077
 100 SE 2nd, Street,                               jtravalini@sidley.com
 36th Floor
 Floor Miami, FL 33131                             Sarah Alison Hemmendinger
 305-403-8788
 jk@lklsg.com                                      Sidley Austin LLP
                                                   555 California Street, Suite 2000
 Jason M. Lindner                                  San Francisco, CA 94104
 Stueve Siegel Hanson LLP                          415-772-7413
 550 West C Street, Suite 610                      415-772-7400
 San Diego, CA 92101                               shemmendinger@sidley.com
 619-400-5822
 619-400-5832                                      Tommy Hoyt
 lindner@stuevesiegel.com (Inactive)               Sidley Austin LLP
                                                   One S. Dearborn Street
                                             12
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                                             Chicago, IL 60603
 Marcelo Diaz-Cortes                         312-853-0914
 Levine Kellogg Lehman Schneider &           312-853-7036
 Grossman LLP                                thoyt@sidley.com
 Miami Tower
 100 SE 2nd Street, 36th Floor               Counsel for Defendant Silvergate Bank in
 Miami, FL 33131                             Gonzalez v. Silvergate Bank et al, Case No.
 305-403-8788                                3:22-CV-01981-BEN-WVG (S.D.
 md@lklsg.com                                Cal.);Husary et al v. Silvergate Bank et al,
                                             Case No. 3:23-CV-00038-BEN-WVG (S.D.
 Matthew Whitacre Reiser                     Cal.):
 Reiser Law PC
 1475 North Broadway, Suite 300              And
 Walnut Creek, CA 94596
 925-256-0400                                Counsel for Defendant Silvergate Capital
 matthew@reiserlaw.com                       Corporation in Gonzalez v. Silvergate Bank
                                             et al, Case No. 3:22-CV-01981-BEN-WVG
 Michael J Reiser                            (S.D. Cal.); Husary et al v. Silvergate Bank
 Law Office of Michael Reiser                et al, Case No. 3:23-CV-00038-BEN-WVG
 961Ygnacio Valley Road Walnut               (S.D. Cal.); Sepulveda Zuleta et al v.
 Creek, CA 94596                             Silvergate Capital Corporation et al, Case
 925-256-0400                                No.: 3:22-CV-01901-BEN-WVG (S.D.
 michael@reiserlaw.com                       Cal.):

 Victoria J. Wilson                          And
 Levine Kellogg Lehman Schneider Grossman
 Miami Tower                                 Counsel for Defendant Alan J. Lane in
 100 SE 2nd Street, 36th Floor               Gonzalez v. Silvergate Bank et al, Case No.
 Miami, FL 33131                             3:22-CV-01981-BEN-WVG (S.D. Cal.);
 305-403-8788                                Husary et al v. Silvergate Bank et al, Case
 305-403-8789                                No. 3:23-CV-00038-BEN-WVG (S.D.
 vjw@lklsg.com                               Cal.); Sepulveda Zuleta et al v. Silvergate
                                             Capital Corporation et al, Case No.: 3:22-
                                             CV-01901- BEN-WVG (S.D. Cal.):

                                             And

                                             Counsel for Defendant Christopher M.
                                             Lane, Tyler J. Pearson, Jason Brenier in
                                             Sepulveda Zuleta et al v. Silvergate Capital
                                             Corporation et al, Case No.: 3:22-CV-
                                             01901-BEN-WVG (S.D. Cal.):

                                                                   Via Electronic Mail


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                                          John Michael Landry
                                          Sheppard Mullin Richter & Hampton LLP
                                          333 South Hope Street, 43rd Floor
                                          Los Angeles, CA 90071
                                          213-620-1780
                                          213-620-1398
                                          jlandry@sheppardmullin.com

                                          Madalyn Annabel Macarr
                                          Sheppard Mullin Richter & Hampton LLP
                                          333 S. Hope Street, 43rd Floor
                                          Los Angeles, CA 90071
                                          213-620-1780
                                          213-620-1398
                                          mmacarr@sheppardmullin.com

                                          Polly Towill
                                          Sheppard Mullin Richter and Hampton LLP
                                          333 South Hope Street, 43rd Floor
                                          Los Angeles, CA 90071
                                          213-617-5480
                                          213-620-1398
                                          ptowill@sheppardmullin.com



                                    Respectfully submitted,
                                    MARCUS NEIMAN RASHBAUM & PINEIRO LLP

Dated: March 3, 2023                By: /s/ Jeffrey A. Neiman

                                    Jeffrey A. Neiman
                                    100 Southeast Third Avenue
                                    Fort Lauderdale, Florida 33394
                                    Telephone: (954) 462-1200
                                    jneiman@mnrlawfirm.com

                                    Counsel for Defendant Kevin O’Leary

                                    Case No. 1:22-cv-23753 (S.D. Fla.)
                                    Case No. 1:23-cv-20439 (S.D. Fla.)




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